     Case 5:25-cv-00951-PCP          Document 217-1        Filed 06/27/25      Page 1 of 21



                           UNITED STATES DISTRICT COURT

                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, et al.,                Case: 5:25-CV-00951-PCP

                      Plaintiffs,

            v.

  HEWLETT PACKARD

  ENTERPRISE CO. and JUNIPER

  NETWORKS, INC.

                      Defendants.



                              PROPOSED FINAL JUDGMENT

       WHEREAS, plaintiff United States of America filed its Complaint on January 30, 2025,

and whereas the United States and Defendants, Hewlett Packard Enterprise Co. and Juniper

Networks, Inc., by their respective attorneys, have consented to the entry of this Final Judgment

without trial or adjudication of any issue of fact or law, and without this Final Judgment

constituting any evidence against or admission by any party regarding any issue of fact or law;

       AND WHEREAS, Defendants agree to be bound by the provisions of this Final Judgment

pending its approval by the Court;

        AND WHEREAS, the essence of this Final Judgment is the prompt divestiture of certain

assets and license of certain rights by Defendants to ensure that competition is not substantially

lessened;

        AND WHEREAS, the United States requires that Defendants agree to undertake certain

actions for the purpose of remedying the loss of competition alleged in the Complaint;




                                                1
     Case 5:25-cv-00951-PCP          Document 217-1         Filed 06/27/25     Page 2 of 21



        AND WHEREAS, Defendants have represented to the United States that the actions

described below can and will be made;

        NOW THEREFORE, before any testimony is taken, without trial or adjudication of any

issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED AND

DECREED:

                                    I.      JURISDICTION

        This Court has jurisdiction over the subject matter of and, for purposes of this case only,

each of the parties to this action. The Complaint states a claim upon which relief may be granted

against Defendants under Section 7 of the Clayton Act, as amended (15 U.S.C. § 18).

                                    II.    DEFINITIONS

       As used in this Final Judgment:

       A.      “AI Ops for Mist Bidder(s)” means the companies that participate in the AI Ops

for Mist Source Code Auction.

       B.      “Defendant(s)” means either defendant acting individually or both defendants

acting collectively, as appropriate. Where the Final Judgment imposes an obligation to engage in

certain conduct, that obligation shall apply where reasonable to each defendant individually, both

defendants acting together, and the merged firm.

       C.      “HPE” means defendant Hewlett Packard Enterprise Co., a company with its

headquarters in Spring, Texas, its successors and assigns, and its subsidiaries, divisions, groups,

affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents, and

employees.

       D.      “Juniper” means defendant Juniper Networks, Inc., a company with its

headquarters in Sunnyvale, California, its successors and assigns, and its subsidiaries, divisions,




                                                2
     Case 5:25-cv-00951-PCP             Document 217-1       Filed 06/27/25       Page 3 of 21



groups, affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents,

and employees.

       E.        “AI Ops for Mist Licensee” means the Bidder or Bidders that meet the required

criteria for the Mist AI Ops Source Code Auction and to which Defendants license the AI Ops for

Mist Source Code License.

       F.        “AI Ops for Mist Source Code” means the source code for Juniper’s AI Ops for

Mist software used in Juniper’s WLAN products.

       G.        “AI Ops for Mist Source Code Auction” means an auction to license the AI Ops

for Mist Source Code under the terms described in Section V.

       H.        “AI Ops for Mist Source Code License” means the license of the AI Ops for Mist

Source Code.

       I.        “Divestiture Acquirer” means the entity that acquires the HPE Divestiture Assets.

       J.        “HPE Divestiture Assets” means the HPE Instant On Business, including:

                 i.   All tangible assets related to or used in connection with the Instant On

                      Business, including but not limited to: personal property, hardware

                      inventory, and other tangible property; all contracts, contractual rights, and

                      all other agreements, commitments, and purchase orders; all licenses,

                      permits, certifications, approvals, consents, registrations, waivers, and

                      authorizations;

               ii.    All intangible assets related to or used in connection with the Instant On

                      Business, including but not limited to: all data and information controlled by

                      HPE for the Instant On business; R&D employees specific to the Instant On

                      business, together with all tangible and electronic embodiments of know-

                      how, documentation of ideas, research and development files, and other

                                                  3
     Case 5:25-cv-00951-PCP             Document 217-1          Filed 06/27/25      Page 4 of 21



                        similar tangible or electronic materials specific to the Instant On business; all

                        Instant On specific intellectual property owned, licensed, or sublicensed (and,

                        for shared intellectual property, a perpetual license), including the Instant On

                        trademark (but, for the avoidance of doubt, excluding any trademarks or trade

                        names containing the name “HPE”); a license to the version of HPE’s AOS

                        8 software used with Instant On; all rights to causes of action, lawsuits,

                        judgments, claims, defenses, indemnities, guarantees, refunds, and other

                        rights and privileges against third parties; and goodwill arising primarily out

                        of the conduct of the Instant On business.

       K.       “HPE Instant On Business” means HPE’s worldwide Instant On campus and branch

business.

       L.       “Relevant HPE Divestiture Personnel” are the individuals associated with the HPE

Divestiture Business.

       M.       “Relevant AI Ops for Mist Personnel” are the individuals described in Paragraph

V.1.B.5 of the Final Judgment.

       N.       “Transaction” means the acquisition of Juniper by HPE.

       O.       “WLAN” means wireless local area network.

                                      III.    APPLICABILITY

        A.      This Final Judgment applies to HPE and Juniper, as defined above, and all other

persons in active concert or participation with any of them who receive actual notice of this Final

Judgment by personal service or otherwise.




                                                    4
      Case 5:25-cv-00951-PCP            Document 217-1          Filed 06/27/25        Page 5 of 21



                                       IV.      DIVESTITURE

1.      Divestiture of the HPE Divestiture Assets

        A.      Defendants are ordered and directed within one hundred and eighty (180) calendar

days after the filing of this proposed Final Judgment, or five (5) days after notice of entry of this Final

Judgment by the Court, whichever is later, to divest the HPE Divestiture Assets in a manner consistent

with this Final Judgment to a Divestiture Acquirer acceptable to the United States, in its sole

discretion. The United States, in its sole discretion, may agree to extensions of this time period of

up to sixty (60) days per extension, and shall notify the Court in such circumstances.

        B.      For all contracts, agreements, and customer relationships (or portions of such

contracts, agreements, and customer relationships) included in the HPE Divestiture Assets,

Defendants must assign or otherwise transfer all contracts, agreements, and customer relationships

to Divestiture Acquirer within the deadlines set forth in Paragraph IV.1.A; provided, however, that

for any contract or agreement that requires the consent of another party to assign or otherwise

transfer, Defendants must use best efforts to accomplish the assignment or transfer. Defendants

must not interfere with any negotiations between Divestiture Acquirer and a contracting party.

        C.      Defendants must inform any person making an inquiry relating to a possible

purchase of the HPE Divestiture Assets that the HPE Divestiture Assets are being sold in

accordance with this Final Judgment and must provide that person with a copy of this Final

Judgment. Defendants must offer to furnish to all prospective Divestiture Acquirers, subject to

customary confidentiality assurances, all information and documents relating to the Divestiture

Assets that are customarily provided in a due diligence process; provided, however, that Defendants

need not provide information or documents subject to the attorney-client privilege or work-product

doctrine. Defendants must make all information and documents available to the United States at

the same time that the information and documents are made available to any other person.

                                                    5
     Case 5:25-cv-00951-PCP            Document 217-1         Filed 06/27/25      Page 6 of 21



2.     Appointment of Divestiture Trustee

       A.       If Defendants have not divested the HPE Divestiture Assets after one hundred and

eighty (180) calendar days after the filing of this proposed Final Judgment (or, as provided above,

as extended by additional sixty (60) day periods by the United States in its sole discretion), or five

(5) days after notice of entry of this Final Judgment by the Court, whichever is later, Defendants

shall notify the United States of that fact in writing. Upon application of the United States, the

Court shall appoint a trustee selected by the United States and approved by the Court to sell the

HPE Divestiture Assets (the “Divestiture Trustee”). Defendants consent to appointment of a

Divestiture Trustee prior to entry of this Final Judgment if the HPE Divestiture Assets have not

been sold within the time periods provided in Paragraph IV.1.A.

       B.       After the appointment of a Divestiture Trustee becomes effective, only the

Divestiture Trustee shall have the right to sell the HPE Divestiture Assets. The Divestiture Trustee

shall have the power and authority to sell the HPE Divestiture Assets to a Divestiture Acquirer

acceptable to the United States, in its sole discretion, at a price and on terms as are then obtainable

upon reasonable effort by the Divestiture Trustee, subject to the provisions of this Final Judgment,

and will have other powers as the Court deems appropriate.

       C.       Subject to Paragraph IV.2.E of this Final Judgment, the Divestiture Trustee may hire

at the cost and expense of Defendants any investment bankers, attorneys, or other agents, who shall

be solely accountable to the Divestiture Trustee, and that are reasonably necessary in the Divestiture

Trustee’s judgment to assist in selling the HPE Divestiture Assets.

       D.         Defendants shall not object to a sale of the HPE Divestiture Assets by the

Divestiture Trustee on any ground other than the Divestiture Trustee’s malfeasance. Any such

objections by Defendants must be conveyed in writing to the United States and the Divestiture




                                                  6
     Case 5:25-cv-00951-PCP             Document 217-1         Filed 06/27/25        Page 7 of 21



Trustee within ten (10) calendar days after the Divestiture Trustee has provided the notice required

under Section IV.3.

        E.        The Divestiture Trustee shall serve at the cost and expense of Defendants, on such

terms and conditions as the United States approves and shall account for all monies derived from the

sale of the assets sold by the Divestiture Trustee and all costs and expenses so incurred. After approval

by the Court of the Divestiture Trustee’s accounting, including fees for its services and those of any

professionals and agents retained by the Divestiture Trustee, all remaining money shall be paid to

Defendants and the trust shall then be terminated. The compensation of the Divestiture Trustee and

any professionals and agents retained by the Divestiture Trustee shall be reasonable in light of the

value of the HPE Divestiture Business based on the price and terms of the divestiture and the speed at

which it is accomplished. Within three (3) business days of hiring an agent or consultant, the

Divestiture Trustee must provide written notice of the hiring and rate of compensation to Defendants

and the United States.

        F.        Defendants shall use their best efforts to assist the Divestiture Trustee in selling the

HPE Divestiture Assets. The Divestiture Trustee and any consultants, accountants, attorneys, and

other persons retained by the Divestiture Trustee shall have full and complete access to the personnel,

books, records, and facilities of Defendants, including any information provided to the United States

during its investigation of the Transaction related to the HPE Divestiture Assets, and Defendants

shall develop financial and other information relevant to such business as the Divestiture Trustee

may reasonably request, subject to reasonable protection for trade secret or other confidential

research, development, or commercial information. Defendants shall take no action to interfere

with or to impede the Divestiture Trustee’s sale of the HPE Divestiture Assets.

       G.       After its appointment, the Divestiture Trustee shall file monthly reports with the

United States and the Court setting forth the Divestiture Trustee’s efforts to sell the HPE Divestiture

                                                   7
     Case 5:25-cv-00951-PCP            Document 217-1         Filed 06/27/25      Page 8 of 21



Assets ordered under this Final Judgment. To the extent such reports contain information that the

Divestiture Trustee deems confidential, such reports shall not be filed in the public docket of the

Court. Such reports shall include the name, address, and telephone number of each person who,

during the preceding month, made an offer to purchase, expressed an interest in purchasing, entered

into negotiations to purchase, or was contacted or made an inquiry about purchasing the HPE

Divestiture Assets, and shall describe in detail each contact with any such person. The Divestiture

Trustee shall maintain full records of all efforts made to sell the HPE Divestiture Assets.

       H.       If the Divestiture Trustee has not sold the HPE Divestiture Assets ordered under this

Final Judgment within six (6) months after its appointment, the Divestiture Trustee shall promptly file

with the Court a report setting forth (1) the Divestiture Trustee’s efforts to sell the HPE Divestiture

Assets, (2) the reasons, in the Divestiture Trustee’s judgment, why the required sale of the HPE

Divestiture Assets has not been accomplished, and (3) the Divestiture Trustee’s recommendations.

To the extent such reports contain information that the Divestiture Trustee deems confidential, such

reports shall not be filed in the public docket of the Court. The Divestiture Trustee shall at the same

time furnish such report to the United States which shall have the right to make additional

recommendations consistent with the purpose of the trust. The Court thereafter shall enter such orders

as it shall deem appropriate to carry out the purpose of the Final Judgment, which may, if necessary,

include extending the trust and the term of the Divestiture Trustee’s appointment by a period

requested by the United States.

3.     Notice of Proposed Sale of the HPE Divestiture Assets

        A.       Within two (2) business days following execution of a definitive agreement to

sell the HPE Divestiture Assets, Defendants or the Divestiture Trustee, whichever is then

responsible for effecting the sale required herein, shall notify the United States of any such

proposed sale under Section IV.1 or Section IV.2 of this Final Judgment. If the Divestiture Trustee

                                                  8
     Case 5:25-cv-00951-PCP            Document 217-1         Filed 06/27/25     Page 9 of 21



is responsible, it shall similarly notify Defendants. The notice shall set forth the details of the

proposed sale and list the name, address, and telephone number of each person not previously

identified who offered or expressed an interest in or desire to purchase the HPE Divestiture Assets.

        B.       Within fifteen (15) calendar days of receipt by the United States of such notice,

the United States may request from Defendants, the proposed Divestiture Acquirer, or any other

third party, or the Divestiture Trustee if applicable, additional information concerning the proposed

sale, the proposed Divestiture Acquirer, and any other potential Acquirer. Defendants and the

Divestiture Trustee shall furnish any additional information requested within fifteen (15) calendar

days of the receipt of the request, unless the parties shall otherwise agree.

        C.       Within thirty (30) calendar days after receipt of the notice or within twenty (20)

calendar days after the United States has been provided the additional information requested from

Defendants, the proposed Divestiture Acquirer, any third party, and the Divestiture Trustee,

whichever is later, the United States shall provide written notice to Defendants and the Divestiture

Trustee, if there is one, stating whether or not it objects to the proposed Divestiture Acquirer or

any other aspects of the proposed divestiture. If the United States provides written notice that it

does not object, the divestiture may be consummated, subject only to Defendants’ limited right to

object to the sale under Paragraph IV.2.D of this Final Judgment. Absent written notice that the

United States does not object to the proposed Divestiture Acquirer or upon objection by the United

States, a sale proposed under Section IV.1 or IV.2 shall not be consummated. Upon objection by

Defendants under Paragraph IV.2.D, a sale proposed under Section IV.2 shall not be consummated

unless approved by the Court.

4.     Hold Separate

       Until the sale of the HPE Divestiture Assets required by this Final Judgment has been

accomplished, Defendants shall take all steps necessary to comply with the Asset Preservation and

                                                  9
     Case 5:25-cv-00951-PCP             Document 217-1          Filed 06/27/25       Page 10 of 21



Hold Separate Stipulation and Order entered by the Court. Defendants shall take no action that

would jeopardize the divestiture ordered by the Court.

                                   V.      SOFTWARE LICENSE

1.      The AI Ops for Mist Software License

        A.      Defendants are ordered and directed within one hundred and eighty (180) calendar

days after the filing of this proposed Final Judgment, or five (5) days after notice of entry of this Final

Judgment by the Court, whichever is later, to hold the AI Ops for Mist Source Code Auction according

to the criteria set forth below and, to enter into a AI Ops for Mist Source Code License in a manner

consistent with this Final Judgment, to a Licensee acceptable to the United States, in its sole

discretion. The United States, in its sole discretion, may agree to extensions of this time period of

up to sixty (60) days per extension, and shall notify the Court in such circumstances.

        B.        The AI Ops for Mist Source Code License shall consist of a one-time, perpetual,

worldwide, non-exclusive license to the AI Ops for Mist Source Code on the following basis:

        1.      The AI Ops for Mist Source Code License shall be irrevocable except in the case

                of malfeasance by the Licensee(s). Negligent or intentional breaches of the

                Defendants’ intellectual property rights shall be construed as malfeasance for

                purposes of this provision.

        2.      The AI Ops for Mist Source Code License shall not include the right to use the

                Mist trademark.

        3.      Defendants warrant that they have the authority to license all intellectual property

                included in the AI Ops for Mist Source Code free and clear of any encumbrances,

                contractual commitments or obligations, except that for any third party software

                dependencies contained in the AI Ops for Mist Source Code, Defendants will (1)

                include a sub-license to any such software that is sublicensable and does not require

                                                    10
Case 5:25-cv-00951-PCP        Document 217-1          Filed 06/27/25       Page 11 of 21



       either the consent of, or payment to, any such third party licensor; and (2) to the extent

       that any such software requires consent of or payment to any such third party

       licensor, reasonably facilitate the Licensee(s)’s discussions with any other relevant

       third parties to obtain licenses.

  4.   At the option of the Licensee, Defendants will, for a period of twelve (12) months

       after the date of the license and on reasonable commercial terms, enter into a contract

       to provide transition services whereby Defendants will provide the Licensee with

       any knowledge transfer assistance, software updates, engineering support for

       ordinary course maintenance and bug fixes that it releases for the AI Ops for Mist

       Source Code, and engineering support for integrating the Mist AIOps source code

       into the Licensee’s software.

  5.   At the option of the Licensee, Defendants will facilitate the transfer of up to thirty

       (30) Juniper engineers familiar with the Mist AI Ops Source Code, and up to twenty

       five (25) Juniper sales personnel experienced in selling Mist. Defendants will

       provide financial incentives to encourage relevant employees to transfer to the

       Licensee. The license will include a non-solicit provision preventing Licensee from

       soliciting any additional Juniper engineers or sales personnel beyond the agreed upon

       personnel, which shall lapse twelve (12) months from the date of the license. The

       license will also include a non-solicit provision preventing Defendants from

       soliciting to rehire any personnel transferred to Licensee under the license, which

       shall lapse 12 months after the date of the license.

  6.   At the option of the Licensee, Defendants will provide the Licensee with relevant

       contact information for and facilitate introductions to (i) Juniper’s original design

       manufacturer (“ODM”) suppliers for WLAN hardware, (ii) Juniper’s distributors for

                                           11
    Case 5:25-cv-00951-PCP           Document 217-1        Filed 06/27/25      Page 12 of 21



              WLAN in the United States, and (iii) channel partners that work with Juniper to sell

              WLAN in the United States.

       C.          Defendants shall conduct the AI Ops for Mist Source Code Auction on the

following terms:

       1.     Defendants will hold the AI Ops for Mist Source Code Auction to license the AI

              Ops for Mist Source Code.

       2.     Defendants will select a Licensee acceptable to the United States based on their

              assessment of the totality of the bid submitted by each Bidder, including but not

              limited to price.

       3.     Defendants will negotiate a definitive license agreement with the selected Licensee

              within 180 days of entry of this proposed Final Judgment.

       4.     In the event that more than one bid is received that exceeds $8 million, Defendants

              will license the AI Ops for Mist Source Code to a second Licensee acceptable to

              the DOJ on the following basis:

              •        If only two bids are received that exceed $8 million, Defendants will also

                       license the AI Ops for Mist Source code, excluding the transitional services

                       and employees described in Paragraphs V.1.B.4, V.1.B.5 and V.1.B.6 of

                       this proposed Final Judgment, to the second-place Licensee at the price

                       contained in that Licensee’s bid.

              •        If three or more bids are received that exceed $8 million, Defendants will

                       hold a secondary auction to license the AI Ops for Mist Source Code,

                       excluding the transitional services and employees described in Paragraphs

                       V.1.B.4, V.1.B.5 and V.1.B.6 of this proposed Final Judgment, to either the

                       second- or third-place bidder in the primary auction, in which case the

                                                12
     Case 5:25-cv-00951-PCP           Document 217-1         Filed 06/27/25       Page 13 of 21



                       secondary auction will have a reserve price set at the license fee paid by the

                       winning bidder of the primary auction.

       D.    Provided one or more Licensee(s) emerges as the winning bidder at the auction as

set forth in Section V.1.C or Section V.2:

       1.       The Licensee(s) shall have the right to utilize the AI Ops for Mist Source Code for

                its networking products.

       2.       The Licensee(s) shall have the right to further develop and innovate the AI Ops for

                Mist Source Code, and any improvements to and derivatives of the AI Ops for Mist

                Source Code developed after the license date by the Licensee will be owned by the

                Licensee.

       3.       The Licensee(s) shall have the right to grant rights of use to the AI Ops for Mist

                Source Code to its end users, intermediaries, and service providers as reasonably

                needed in connection with the sale of its networking products.

       4.       Defendants and Licensee(s) will provide patent cross-licenses to enable the

                parties’ activities within WLAN.

2.     Appointment for AI Ops for Mist License Trustee

       A.       If Defendants have not licensed the AI Ops for Mist Source Code to a Licensee(s)

after one hundred and eighty (180) calendar days after the filing of this proposed Final Judgment

(or, as provided above, as extended by additional sixty (60) day periods by the United States in its

sole discretion), or five (5) days after notice of entry of this Final Judgment by the Court, whichever

is later, Defendants shall notify the United States of that fact in writing. Upon application of the

United States, the Court shall appoint a trustee selected by the United States and approved by the

Court to conduct the AI Ops for Mist Source Code Auction and license the AI Ops for Mist Source

Code in a manner consistent with this Final Judgment (the “License Trustee”). Defendants consent

                                                  13
     Case 5:25-cv-00951-PCP           Document 217-1         Filed 06/27/25       Page 14 of 21



to appointment of a License Trustee prior to entry of this Final Judgment if the AI Ops for Mist

Source Code Auction and license of the AI Ops for Mist Source Code have not been completed

within the time periods provided in Paragraph V.1.A.

       B.       After the appointment of a License Trustee becomes effective, only the License

Trustee shall have the right to conduct the AI Ops for Mist Source Code Auction and license the AI

Ops for Mist Source Code. The License Trustee shall have the power and authority to conduct the

AI Ops for Mist Source Code Auction and to license the AI Ops for Mist Source Code to a Licensee(s)

acceptable to the United States, in its sole discretion, at a price and on terms as are then obtainable

upon reasonable effort by the License Trustee, subject to the provisions of this Final Judgment, and

will have other powers as the Court deems appropriate.

       C.       Subject to Paragraph V.2.E of this Final Judgment, the License Trustee may hire at

the cost and expense of Defendants any investment bankers, attorneys, or other agents, who shall be

solely accountable to the License Trustee, and that are reasonably necessary in the License Trustee’s

judgment to assist in the AI Ops for Mist Source Code Auction and in licensing the AI Ops for Mist

Source Code.

       D.         Defendants shall not object to a License by the License Trustee on any ground

other than the License Trustee’s malfeasance. Any such objections by Defendants must be

conveyed in writing to the United States and the License Trustee within ten (10) calendar days after

the License Trustee has provided the notice required under Section V.3.

       E.         The License Trustee shall serve at the cost and expense of Defendants, on such terms

and conditions as the United States approves and shall account for all monies derived from the sale of

the assets sold by the License Trustee and all costs and expenses so incurred. After approval by the

Court of the License Trustee’s accounting, including fees for its services and those of any

professionals and agents retained by the License Trustee, all remaining money shall be paid to

                                                  14
     Case 5:25-cv-00951-PCP              Document 217-1          Filed 06/27/25      Page 15 of 21



Defendants and the trust shall then be terminated. The compensation of the License Trustee and any

professionals and agents retained by the License Trustee shall be reasonable in light of the value of

the AI Ops for Mist Source Code License and based on the price and terms of the license and the speed

at which it is accomplished. Within three (3) business days of hiring an agent or consultant, the

License Trustee must provide written notice of the hiring and rate of compensation to Defendants and

the United States.

       F.            Defendants shall use their best efforts to assist the License Trustee in accomplishing

the required AI Ops for Mist Source Code Auction and in licensing the AI Ops for Mist Source Code.

The License Trustee and any consultants, accountants, attorneys, and other persons retained by the

License Trustee shall have full and complete access to the personnel, books, records, and facilities of

Defendants, including any information provided to the United States during its investigation of the

Transaction related to the AI Ops for Mist Source Code, and Defendants shall develop financial

and other information relevant to such business as the License Trustee may reasonably request,

subject to reasonable protection for trade secret or other confidential research, development, or

commercial information. Defendants shall take no action to interfere with or to impede the License

Trustee’s accomplishment of the AI Ops for Mist Source Code Auction or AI Ops for Mist Source

Code License.

       G.       After its appointment, the License Trustee shall file monthly reports with the United

States and the Court setting forth the License Trustee’s efforts to conduct the AI Ops for Mist Source

Code Auction and license the AI Ops for Mist Source Code ordered under this Final Judgment. To

the extent such reports contain information that the License Trustee deems confidential, such reports

shall not be filed in the public docket of the Court. Such reports shall include the name, address, and

telephone number of each person who, during the preceding month, made an offer to license,

expressed an interest in licensing, entered into negotiations to license, or was contacted or made an

                                                     15
     Case 5:25-cv-00951-PCP            Document 217-1         Filed 06/27/25       Page 16 of 21



inquiry about licensing the AI Ops for Mist Source Code, and shall describe in detail each contact

with any such person. The License Trustee shall maintain full records of all efforts made to conduct

the AI Ops for Mist Source Code Auction or license the AI Ops for Mist Source Code.

        H.      If the License Trustee has not entered into the license ordered under this Final

Judgment within six (6) months after its appointment, the License Trustee shall promptly file with the

Court a report setting forth (1) the License Trustee’s efforts to accomplish the required AI Ops for Mist

Source Code Auction and AI Ops for Mist Source Code License, (2) the reasons, in the License

Trustee’s judgment, why the required AI Ops for Mist Source Code Auction and AI Ops for Mist

Source Code License has not been accomplished, and (3) the License Trustee’s recommendations. To

the extent such reports contain information that the License Trustee deems confidential, such reports

shall not be filed in the public docket of the Court. The License Trustee shall at the same time furnish

such report to the United States which shall have the right to make additional recommendations

consistent with the purpose of the trust. The Court thereafter shall enter such orders as it shall deem

appropriate to carry out the purpose of the Final Judgment, which may, if necessary, include extending

the trust and the term of the License Trustee’s appointment by a period requested by the United States.

3.      Notice of Proposed AI Ops for Mist License

        A.       Within two (2) business days following execution of a definitive agreement to

license the AI Ops for Mist Source Code, Defendants or the License Trustee, whichever is then

responsible for effecting the license required herein, shall notify the United States of any such

proposed license under Section V.1 or Section V.2 of this Final Judgment. If the License Trustee

is responsible, it shall similarly notify Defendants. The notice shall set forth the details of the

proposed license and list the name, address, and telephone number of each person not previously

identified who offered or expressed an interest in or desire to license the AI Ops for Mist Source

Code.

                                                   16
     Case 5:25-cv-00951-PCP           Document 217-1        Filed 06/27/25      Page 17 of 21



       B.        Within fifteen (15) calendar days of receipt by the United States of such notice,

the United States may request from Defendants, the proposed Licensee(s), or any other third party,

or the License Trustee if applicable, additional information concerning the proposed license, the

proposed Licensee(s), and any other potential Licensee(s). Defendants and the License Trustee

shall furnish any additional information requested within fifteen (15) calendar days of the receipt

of the request, unless the parties shall otherwise agree.

       C.        Within thirty (30) calendar days after receipt of the notice or within twenty (20)

calendar days after the United States has been provided the additional information requested from

Defendants, the proposed Licensee(s), any third party, and the License Trustee, whichever is later,

the United States shall provide written notice to Defendants and the License Trustee, if there is

one, stating whether or not it objects to the proposed license. If the United States provides written

notice that it does not object, the license may be consummated, subject only to Defendants’ limited

right to object to the sale under Paragraph V.2.D of this Final Judgment. Absent written notice that

the United States does not object to the proposed Licensee(s) or upon objection by the United

States, a license proposed under Section V.1 or Section V.2 shall not be consummated. Upon

objection by Defendants under Paragraph V.2.D, a license proposed under Section V.2 shall not be

consummated unless approved by the Court.

4.     Preservation of AI Ops for Mist Assets

       Until the license required by this Final Judgment has been accomplished:

       A.      Defendants shall provide sufficient working capital and lines and sources of credit

to continue to maintain the AI Ops for Mist Source Code as an economically viable asset.

       B.      Defendants shall not remove, sell, lease, assign, transfer, pledge, exclusively

license, or otherwise dispose of the AI Ops for Mist Source Code.




                                                  17
     Case 5:25-cv-00951-PCP           Document 217-1         Filed 06/27/25      Page 18 of 21



       C.      Defendants shall take no action that would interfere with the ability of any License

Trustee appointed pursuant to the Final Judgment to conduct the AI Ops for Mist Source Code

Auction or complete the license of the AI Ops for Mist Source Code.

                                       VI.    AFFIDAVITS

       A.      Within twenty (20) calendar days of the filing of the proposed Final Judgment in this

matter, and every thirty (30) calendar days thereafter until both the HPE Divestiture Assets have been

divested under Section IV and completion of the AI Ops for Mist Source Code Auction and any

license of the AI Ops for Mist Source Code under Section V, Defendants shall deliver to the United

States an affidavit as to the fact and manner of its compliance with Sections IV and V of this Final

Judgment. Each such affidavit shall include a description of the efforts Defendants have taken to

sell the HPE Divestiture Assets and conduct the AI Ops for Mist Source Code Auction, as

applicable. Assuming the information set forth in the affidavit is true and complete, any objection

by the United States to information provided by Defendants, including limitation on information,

shall be made within fourteen (14) calendar days of receipt of such affidavit.

       B.      Defendants shall keep all records of all efforts made to preserve and sell the HPE

Divestiture Assets until one year after such sale has been completed and shall keep records of all

efforts made to preserve and license the AI Ops for Mist Source Code until one year after such

license has been completed.




                                                 18
     Case 5:25-cv-00951-PCP           Document 217-1         Filed 06/27/25       Page 19 of 21



                              VIII.    COMPLIANCE INSPECTION

       A.           For purposes of determining or securing compliance with this Final Judgment,

or of determining whether the Final Judgment should be modified or vacated, and subject to any

legally recognized privilege, from time to time duly authorized representatives of the United States,

including consultants and other persons retained by the United States shall, upon written request of

an authorized representative of the Assistant Attorney General in charge of the Antitrust Division,

and on reasonable notice to Defendants, be permitted:

       1.      access during Defendants’ office hours to inspect and copy, or at the option of the

               United States, to require Defendants to provide hard copy or electronic copies of,

               all books, ledgers, accounts, records, data, and documents in the possession,

               custody, or control of Defendants, relating to any matters contained in this Final

               Judgment; and

        2.     to interview, either informally or on the record, Defendants’ officers, employees, or

                agents, who may have their individual counsel present, regarding such matters. The

                interviews shall be subject to the reasonable convenience of the interviewee and

                without restraint or interference by Defendants.

       B.       Upon the written request of an authorized representative of the Assistant Attorney

General in charge of the Antitrust Division, Defendants shall submit written reports, under oath if

requested, relating to any of the matters contained in this Final Judgment as may be requested. Written

reports authorized under this paragraph may, at the sole discretion of the United States, require

Defendants to conduct, at Defendants’ cost, an independent audit or analysis relating to any of the

matters contained in this Final Judgment.

       C.       No information or documents obtained by the means provided in this section shall

be divulged by the United States to any person other than an authorized representative of the

                                                  19
     Case 5:25-cv-00951-PCP            Document 217-1        Filed 06/27/25    Page 20 of 21



executive branch of the United States, except in the course of legal proceedings to which any

Plaintiff is a party (including grand jury proceedings), or for the purpose of securing compliance

with this Final Judgment, or as otherwise required by law.

       D.       If at the time information or documents are furnished by Defendants to the United

States, Defendants represent and identify in writing the material in any such information or

documents to which a claim of protection may be asserted under Rule 26(c)(1)(G) of the Federal

Rules of Civil Procedure, and Defendants mark each pertinent page of such material, “Subject to

claim of protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure,” then the United

States shall give Defendants ten (10) calendar days’ notice prior to divulging such material in any

legal proceeding (other than a grand jury proceeding).

                                       IX.   NOTIFICATION

       For purposes of this Final Judgment, any notice or other communication required to be

provided to the United States shall be sent to the person at the address and emails set forth

below (or such other addresses as the United States may specify in writing to Defendants):

       United States

       Jacklin Lem
       Civil Chief, San Francisco Office
       U.S. Department of Justice, Antitrust Division
       450 Golden Gate Ave, Room 10-0101
       San Francisco, CA 94102
       Jacklin.Lem@usdoj.gov

                          X.      RETENTION OF JURSIDICTION

       This Court retains jurisdiction to enable any party to this Final Judgment to apply to this

Court at any time for further orders and directions as may be necessary or appropriate to carry out

or construe this Final Judgment, to modify any of its provisions, to enforce compliance, and to

punish violations of its provisions.


                                                20
     Case 5:25-cv-00951-PCP             Document 217-1         Filed 06/27/25    Page 21 of 21



                         XI.      EXPIRATION OF FINAL JUDGMENT

          Unless the Court grants an extension, this Final Judgment shall expire ten years from the

date of its entry.

                        XII.      PUBLIC INTEREST DETERMINATION

Entry of this Final Judgment is in the public interest.

                                         Date: _____________

                                         Court approval subject to procedures of the Antitrust

                                         Procedures and Penalties Act, 15 U.S.C. § 16.



                                         _______________________

                                         Hon. P. Casey Pitts

                                         United States District Judge




                                                    21
